Case 2:04-cr-20075-.]DB Document 41 Filed 06/03/05 Page 1 of 3 Page|D 48

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRIC'I` OF TENNESSEE

 

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UNITED STATES oF AMERICA ) W.D. OF Tw, sewing
)
Plamuff, )
)
VS ) CR. No. 04_20075-01-13
)
WAYNE RIDENHOUR, )
)
Defendant. )
0RI)ER To SURRENDER

 

The defendant, Wayne Ridenhour, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Forrest City,
(P.O. Box 7000), 1301 Dale Bumpers Road, Forrest City, AR, 72335 by 2:00 p.m. on FRIDAY,
JUNE 24, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Roorn 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the

defendant will report as ordered to the facility named above.

ENTERED this the Z~»%ay OfJune, 2005. ~@Lb\

J NIEL BREEN \
ED sTATES I)ISTRICT JUDGE

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Case 2:04-cr-20075-.]DB Document 41 Filed 06/03/05 Page 2 of 3 Page|D 49

ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CR-20075 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

